                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
JAMES WADE,                               )
                                           )
            Plaintiff,                     )
                                           )
            v.                             )
                                           ) Civil Action No.
                                           ) 11-10051-FDS
UNITED STATES OF AMERICA and              )
DONNA DENISE ATHERTON                      )
                                           )
            Defendants.                    )
__________________________________________)

                     AMENDED MEMORANDUM AND ORDER ON
                   PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT

SAYLOR, J.

       Pending before the Court is plaintiff James Wade’s motion for default judgment as to

defendant Donna Denise Atherton. A default was entered against defendant Atherton under Fed.

R. Civ. P. 55(a) on June 19, 2012.

       Although this action was brought against two defendants, only Atherton has been

defaulted. In considering whether to enter a default judgment as to only one of several

defendants, the Court considers whether the claims against defendants are individual, joint, or

joint and several claims. See Frow v. De La Vega, 82 U.S. 552, 554 (1872). Plaintiff’s claims

against the United States, are, at least in part, based on the actions of defendant Atherton. The

claims are indisputably related even if those against defendant Atherton are articulated as against

her “individually.”

       The entry of separate judgment under Fed. R. Civ. P. 54(b) is "not to be granted

routinely." Chapman v. Bernards, Inc., 198 F.R.D. 575, 579 (D. Mass. 2001). Rather, the entry
of separate judgments should be "infrequent" and "employed with great circumspection."

Village West Associates v. Rhode Island Housing & Mortgage Fin. Corp., 641 F. Supp. 2d 135,

137 (D.R.I. 2009); Gonzalez Figueroa v. J.C. Penney Puerto Rico, Inc., 568 F.3d 313, 318 n. 3

(1st Cir. 2009). The rule is intended to be employed in situations of an "exceptional nature," and

"in order to avoid a perceptible danger of hardship through delay which would be alleviated by

immediate appeal." Village West, 641 F. Supp. 2d at 137. Plaintiff here has not attempted to

demonstrate, much less establish, any danger of hardship or injustice if separate judgment does

not issue, and accordingly the Court will follow the normal practice of withholding final

judgment until all claims have been resolved.

       Accordingly, the Court will deny plaintiff’s motion without prejudice, and judgment shall

not enter against Atherton until the case has been adjudicated as to the remaining defendant, so

as to avoid the risk of inconsistent judgments. See Frow v. De La Vega, 82 U.S. 552, 554

(1872); see also Fed. R. Civ. P. 54(b).

       For the foregoing reasons, plaintiff’s motion for default judgment as to defendant

Atherton is DENIED without prejudice to its renewal at an appropriate time.


So Ordered.


                                                     /s/ F. Dennis Saylor
                                                     F. Dennis Saylor IV
                                                     United States District Judge

Dated: October 18, 2012




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